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FOR THE DISTRICT OF DELAWARE

 

IN THE UNITED STATES BANKRUPTCY COURT OP / G / N

In re: Chapter 11

CMTSU Liquidation, Inc., et al!
f/k/a CIBER, Inc., et al.

Case No. 17-10772 (BLS)

Jointly Administered

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Debtors.

RE: Docket No. 540

 

ORDER GRANTING IN PART STATE OF HAWAI‘I, DEPARTMENT OF
TRANSPORTATION’S MOTION FOR RELIEF FROM
THE AUTOMATIC STAY

Upon the motion (the “Motion”)” of the State of Hawai‘i, Department of Transportation

 

(“DOT”) for entry of an order granting DOT relief from the automatic stay imposed by section
362 of the Bankruptcy Code in CMTSU Liquidation Inc.’s (f/k/a CIBER, Inc.) (“Ciber,” and

together with its debtor-affiliates, the “Debtors”) chapter 11 case to permit DOT to prosecute its

 

counterclaims against Ciber in that certain Hawai‘i state court action, captioned as Ciber, Inc. v.
State of Hawai ‘i, Department of Transportation et al., Case No. 15-1-1881-09 (the “Action’”), in
the Circuit Court for the First Circuit of the State Of Hawai'i (the “State Court”), and granting
related relief; and upon the record of the hearing on this Motion (if any); and this Court having
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing
Order of Reference from the United States District Court for the District of Delaware, dated
February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with Article LI of

 

' The Debtors in the above-captioned chapter 11 cases, along with the last four digits of Debtor CMTSU
Liquidation, Inc.’s federal tax identification number (the other Debtors do not have EINs) are: CMTSU Liquidation,
Inc. (6833) (f/k/a CIBER, Inc.), CMTSU Liquidation 2, Inc. (f/k/a CIBER Consulting, Incorporated), and CMTSU
Liquidation 3, LLC (f/k/a CIBER International LLC).

* Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.

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the United States Constitution; and this Court having found that venue of this proceeding and the
Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper
notice of the Motion having been given; and it appearing that no other or further notice of the
Motion is required; and this Court having found that the relief requested by the Motion is in the
best interests of the Debtors’ estates, their creditors, and other parties in interest; and after due

deliberation thereon; and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED IN PART as set forth herein.

2. The automatic stay is MODIFIED solely to the extent necessary to permit Ciber
and DOT (together, the “Parties”) to engage in discovery solely to the extent set forth in this
Order, regardless of whether such discovery is “offensive” or “defensive.”

3. Ciber shall comply with the March 2016 Order of the State Court, including full
responses to the subject interrogatories and a production of remaining documents responsive to
the subject requests for production, by October 24, 2017.

4. Ciber shall provide full and substantive responses to DOT’s second and third
interrogatories by October 24, 2017.

5. Ciber shall produce, by October 27, 2017, the other documents and information
referenced in DOT’s letter to Ciber dated September 15, 2017.

6. Ciber shall provide five (5) depositions to DOT, but no more than two (2) of those
depositions can take place before the earlier of the Initial Status Conference (as defined in the
Debtors’ Motion Pursuant to Sections 105 and 502(c) of the Bankruptcy Code for Approval of
Alternative Dispute Resolution and Claims Estimation Procedures [Docket No. 540] (the “ADR

Motion’)) that follows the conclusion of the mediation phase of the Disputed Claim Procedures

 
 

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(as defined in the ADR Motion) or the confirmation date of the Plan; provided, that Ciber shall
accept service from DOT of a 30(b)(6) deposition notice on September 29, 2017 and provide a
witness on those topics no later than November 3, 2017, which deposition shall count as one of
the depositions referenced in this paragraph.

7. Additional depositions of Ciber-related parties are not precluded by this Order,
but any such depositions shall require further relief from the automatic stay and shall not occur
prior to the Initial Status Conference.

8. Other than as provided by this Order, Ciber shall not be required to provide any
additional document discovery, interrogatories or requests for admission before the earlier of the
Initial Status Conference or the confirmation date of the Plan.

9. Any motions to enforce the discovery authorized pursuant to this Order shall be
heard by the State Court.

10. The enforcement of the terms of this Order shall not be subject to the automatic
stay.

11. DOT shall participate in good faith in the negotiation and mediation portions of
the Disputed Claims Procedures with respect to its claims; provided, that the rights of DOT to
object to the estimation of its claims are fully preserved and shall not be prejudiced in any way
by the entry of this Order; further provided, that any such objection shall be heard at the Initial
Status Conference regarding DOT’s claims and DOT must notify counsel to the Debtors by
electronic mail no less than seven (7) days prior to the Initial Status Conference if it intends to
pursue any such objection.

12. DOT agrees to withdraw its pending dismissal motion in the Action before the

State Court without prejudice, and agrees to adjourn the hearing of the Motion to the Initial

 
 

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Status Conference.

13. In the event of any inconsistency between the Motion and the Order, the Order

shall govern.

Dated: fuga : 2G , 2017
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THE HONORABLE BRENDAN L. SHANNON
UNITED STATES BANKRUPTCY JUDGE

 
